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 4
     Attorney for Defendant,
 5   DERRICK JOHNSON
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. 2:08-cr-00427-MCE
10                                       )
                 Plaintiff,              )                STIPULATION AND
11                                       )                ORDER CONTINUING DATE FOR
           v.                            )                JUDGMENT AND SENTENCING
12                                       )
     DERRICK JOHNSON,                    )
13                                       )
                 Defendant.              )
14   ____________________________________)
15   The parties hereby stipulate as follows:
16   1. Judgment and sentencing is presently set for January 5, 2012.
17   2. The parties agree to vacate the January 5, 2012 hearing date, and to set the matter for
18   judgment and sentencing to be held March 22, 2012 at 9:00 a.m. Good cause for the
19   continuance is due to the defendant’s continued cooperation pursuant to the plea agreement, and
20   to afford defense counsel additional time to address the proposed presentence investigation
21   report. The probation officer has no objection to the proposed date for judgment and sentencing.
22   3. The parties hereby stipulate to the following schedule concerning the presentence investigation
23   report:
24   ///
25   ///
26   ///
27   ///
28   ////
                Case 2:08-cr-00427-MCE Document 555 Filed 12/15/11 Page 2 of 2


 1   Informal Objections
     to Proposed PSR Due:          2/23/12
 2
     Final PSR Due to Court:       3/1/12
 3
     Motion for Correction of
 4   PSR Due:                      3/8/12
 5
     Reply or Statement of Non-
 6   Opposition Due:            3/15/12
 7   DATED: December 9, 2011                      /s/ Timothy E. Warriner, Attorney for Defendant,
                                                  Derrick Johnson
 8
     DATED: December 9, 2011                      /s/ Phil Ferrari, Assistant United States
 9                                                Attorney for the Government
10
11
                                                 ORDER
12
               GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the January
13
     5, 2012 hearing is vacated, and the matter is set for judgment and sentencing to occur March 22,
14
     2012 at 9:00 a.m. The court adopts the stipulation of the parties concerning the presentence
15
     report.
16
               IT IS SO ORDERED.
17
18
      Dated: December 14, 2011
19
                                                  ________________________________
20                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
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